March 31, 1915. The opinion was delivered by
This is an appeal from an order of Hon. Geo. W. Gage, Circuit Judge, confirming and approving the report of H.L. O'Bannon, Esq., master. The report of master fully sets out the facts of the case and will be reported. From the order of his Honor, Judge Gage, D.P. Key and Thomas Mackay appeal, and allege error in holding that Thomas Mackay should have paid the year's rent to the petitioner; and in holding that the rent lien of Thomas Mackay, which he was to pay W.W. Bush for part of the land for the year 1913, went to the purchaser at the sale under foreclosure; and in not finding and holding that the bank had first lien on crop of Thomas Mackay and had the right to collect the same; and that Thomas Mackay in paying the same as he did to the true lawful owner and holder of rent lien was discharged from paying the rent to any other person; and in holding that the purchaser got the whole rent for the year 1913; whereas, it should have been prorated and the purchaser should only have been decreed the proportion of the $75.00 equal to that which would be earned for the use of land from date of purchase in October until the end of the year; and allege it was error to require the respondents to pay the costs as recommended by the master. *Page 331 
We have a finding by the master concurred in by the Circuit Judge, and we fail to find any errors or abuse of discretion on the part of his Honor as complained of by the appellants, and all exceptions are overruled, and judgment affirmed.
MR. JUSTICE GAGE, having heard this case on Circuit, took no part in the decision on appeal.